                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11
    BOY SCOUTS OF AMERICA AND                                           Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                        (Jointly Administered)
                          Debtors.

    OFFICIAL TORT CLAIMANTS’
    COMMITTEE OF BOY SCOUTS OF
    AMERICA AND DELAWARE BSA, LLC,

                          Plaintiff,
                                                                        Adv. Pro. No. 21-50032 (LSS)
                v.

    BOY SCOUTS OF AMERICA AND
    DELAWARE BSA, LLC,

                          Defendants.

             NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
                     HEARING ON MAY 19, 2021, AT 10:00 A.M. (ET)

    This remote hearing will be conducted entirely over Zoom and requires all participants to register
                           in advance. Please register by May 15 at 8:30 a.m.
                     COURTCALL WILL NOT BE USED FOR THIS HEARING.
                        Please use the following link to register for this hearing:

         https://debuscourts.zoomgov.com/meeting/register/vJItc-GvqjouEqO4weFRRYL0XS9y2vCJ3vo

      After registering your appearance by Zoom, you will receive a confirmation email containing
                                 information about joining the hearing.

    YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU WILL NOT
                        BE ALLOWED INTO THE MEETING.

                                              Topic: Boy Scouts of America

                      Time: May 19, 2021, at 10:00 AM Eastern Time (US and Canada)

1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.

2
    Amended items appear in bold.
RESOLVED MATTER

1.   Debtors’ Fourth Motion for Entry of an Order Under 28 U.S.C. § 1425 and Fed. R. P.
     9006(b) and 9027, Extending the Period Within Which the Debtors May Remove Civil
     Actions and Granting Related Relief (D.I. 2720, filed 4/28/21).

     Objection Deadline: May 12, 2021, at 4:00 p.m. (ET).

     Responses Received: None.

     Related Pleadings:

     a)     Certificate of No Objection Regarding Debtors’ Fourth Motion for Entry of an
            Order Under 28 U.S.C. § 1425 and Fed. R. P. 9006(b) and 9027, Extending the
            Period Within Which the Debtors May Remove Civil Actions and Granting Related
            Relief (D.I. 3929, filed 5/13/21); and

     b)     Fourth Order, Under 28 U.S.C. § 1425 and Fed. R. P. 9006(b) and 9027, Extending
            the Period Within Which the Debtors May Remove Civil Actions and Granting
            Related Relief (D.I. 3940, entered 5/14/21).

     Status: An order has been entered, no hearing is necessary.

ADJOURNED MATTER

2.   Debtors’ Motion for Entry of an Order (I) Approving Lehr Settlement Agreement and (II)
     Modifying the Automatic Stay, to the Extent Necessary, to Permit Payment of Settlement
     Amount by Applicable Insurance (D.I. 2719, filed 4/28/21).

     Objection Deadline: May 12, 2021, at 4:00 p.m. (ET).

     Responses Received:

     a)     Objection of the Tort Claimants’ Committee to Debtors’ Motion for Entry of an
            Order (I) Approving Lehr Settlement Agreement and (II) Modifying the
            Automatic Stay, to the Extent Necessary, to Permit Payment of Settlement
            Amount by Applicable Insurance (D.I. 3781, filed 5/12/21);

     b)     Joinder of the Future Claimants’ Representative to the Objection of the Tort
            Claimants’ Committee to Debtors’ Motion for Entry of an Order (I) Approving
            Lehr Settlement Agreement and (II) Modifying the Automatic Stay, to the Extent
            Necessary, to Permit Payment of Settlement Amount by Applicable Insurance
            (D.I. 3851, 5/12/21); and

     c)     Joinder and Statement of Support of the Coalition of Abused Scouts for Justice
            Regarding Objections to First Mediators’ Report (D.I. 3854, filed 5/12/21).

     Related Pleadings:    None.

                                             2
     Status: This matter is adjourned to June 17, 2021.

MATTERS GOING FORWARD

3.   Debtors' Motion for Entry of an Order (I) Approving the Disclosure Statement and the
     Form and Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III)
     Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of Confirmation
     Notices, (V) Establishing Certain Deadlines in Connection with Approval of the Disclosure
     Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.I. 2295, filed
     3/2/21).

     Objection Deadline: May 6, 2021, at 4:00 p.m. (ET); extended to May 10, 2021, at 4:00
     p.m. (ET) for the Tort Claimants’ Committee (the “TCC”), Coalition of Abused Scouts for
     Justice (the “Coalition”) the Future Claimants’ Representative (“FCR”), the Unsecured
     Creditors’ Committee (the “UCC”), the Girl Scouts of America, USA, Liberty Mutual
     Insurance Company, Allianz Insurers, Clarendon, Zurich, and AIG; extended to May 10,
     2021, at 5:15 p.m. (ET) for the U.S. Trustee; extended to May 12, 2021, for Century
     Indemnity Company.

     Responses Received:

     a)     Century and Hartford’s Statement Regarding the Recently-Filed Plan of
            Organization and Pending Rule 2004 Motions (DKT. Nos. 1972, 1974) (D.I. 2316,
            filed 3/4/21);

     b)     Objection of Abuse Claimant 242 to the Disclosure Statement and Plan (D.I. 2386,
            filed 3/16/21);

     c)     Letter Regarding Sexual Abuse Claim Research (D.I. 2398, filed 3/17/21);

     d)     Objection of Various Claimants as to the Adequacy of Debtors’ Disclosure
            Statement in Support of Amended Chapter 11 Plan of Reorganization

            (D.I. 2449, filed 3/24/21);

     e)     Letter Regarding Objections to Joinder/Notice of Related Cases (D.I. 2470, filed
            3/29/21);

     f)     Objection to the Adequacy of Debtors’ Disclosure Statement in Support of
            Amended Chapter 11 Plan of Reorganization and Joinder (D.I. 2497, filed 3/31/21);

     g)     Letter Regarding Pro Se Complainant’s Motion in Support of the Tort Claimants’
            Committee’s Case Status Report (D.I. 2533, filed 4/5/21);

     h)     Request for the BSA to Add Money Amounts in the Disclosure Statement Before
            Its Approved (D.I. 2576, filed 4/12/21);



                                             3
i)   Objection to the Adequacy of Disclosure Statement in Support of Amended Chapter
     11 Plan of Reorganization (D.I. 2585, filed 4/13/21);

j)   Objection to the Adequacy of Disclosure Statement in Support of Amended Chapter
     11 Plan of Reorganization (D.I. 2586, filed 4/13/21);

k)   Letter Regarding Disclosure Statement Hearing (D.I. 2625, filed 4/16/21);

l)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of
     Amended Chapter 11 Plan of Reorganization (D.I. 2642, filed 4/20/21);

m)   [SEALED] Objection to Disclosure Statement (D.I. 2666, filed 4/22/21);

n)   [REDACTED] Objection to Disclosure Statement (D.I. 2667, filed 4/22/21);

o)   [SEALED] Letter Regarding Abuse (D.I. 2669, filed 4/22/21);

p)   [REDACTED] Letter Regarding Abuse (D.I. 2670, filed 4/22/21);

q)   [SEALED] Objection to Disclosure Statement (D.I. 2692, filed 4/26/21);

r)   [REDACTED] Objection to Disclosure Statement (D.I. 2693, filed 4/26/21);

s)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
     Amended Chapter 11 Plan of Reorganization an Joinder of the Objection of the Tort
     Claimants’ Committee (D.I. 2739, filed 4/30/21);

t)   Objection to the Adequacy of Debtors’ Second Disclosure Statement in Support of
     Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
     Tort Claimants’ Committee (D.I. 2741, filed 4/30/21);

u)   Objection to the Adequacy of Debtors’ Second Disclosure Statement in Support of
     Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
     Tort Claimants’’ Committee (D.I. 2845, filed 5/4/12);

v)   Objection to the Adequacy of Debtors’ Second Disclosure Statement in Support of
     Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
     Tort Claimants’ Committee (D.I. 2902, filed 5/4/21);

w)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
     Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
     Tort Claimant’s Committee (D.I. 2959, filed 5/4/21);

x)   Objection of Edward Marcelino, George Burgos, William F. Tompkins III, and
     Richard G. Dunn to the Debtors’ Amended Disclosure Statement and Joinder in the
     Objection of the Committee of Unsecured Creditors, the Objection of the
     Committee of Tort Claimants, and Other Objections (D.I. 2960, filed 5/4/21);



                                     4
y)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of The
      Second Amended Chapter 11 Plan of Reorganization and Joinder of the Objection
      of the Tort Claimants’ Committee (D.I. 3150, filed 5/5/21);

z)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of The
      Second Amended Chapter 11 Plan of Reorganization and Joinder of the Objection
      of the Tort Claimants’ Committee (D.I. 3151, filed 5/5/21);

aa)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of The
      Second Amended Chapter 11 Plan of Reorganization and Joinder of the Objection
      of the Tort Claimants’ Committee (D.I. 3153, filed 5/5/21);

bb)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3154, filed 5/5/21);

cc)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3155, filed 5/5/21);

dd)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3156, filed 5/5/21);

ee)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3157, filed 5/5/21);

ff)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3158, filed 5/5/21);

gg)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3159, filed 5/5/21);

hh)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3160, filed 5/5/21);

ii)   Objection of Certain Claimant to the Adequacy of Debtors’ Disclosure Statement
      in Support of Second Amended Chapter 11 Plan of Reorganization and Joinder of
      Objection of Tort Claimants’ Committee (D.I. 3162, filed 5/6/21);

jj)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3163, filed 5/6/21);


                                     5
kk)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3164, filed 5/6/21);

ll)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3165, filed 5/6/21);

mm)   Objection of Claimant SA-105992, SA-71204 to the Adequacy of Debtors’
      Disclosure Statement in Support of Second Amended Chapter 11 plan of
      Reorganization and Joinder to the Objection of the Tort Claimants’ Committee (D.I.
      3167, filed 5/6/21);

nn)   Objection of Abuse Claimants to the Adequacy of Debtors’ Disclosure Statement
      in Support of Second Amended Chapter 11 Plan of Reorganization and Joinder of
      the Objection of the Tort Claimants’ Committee (D.I. 3175, filed 5/6/21);

oo)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3176, filed 5/6/21);

pp)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3177, filed 5/6/21);

qq)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3178, filed 5/6/21);

rr)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3181, filed 5/6/21);

ss)   Herman Law Claimants’ Joinder in the Objection of the Tort Claimants’ Committee
      and Objection to the Adequacy of Debtors’ Disclosure Statement in Support of
      Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of America
      (D.I. 3182, filed 5/6/21);

tt)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3183, filed 5/6/21);

uu)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3193, filed 5/6/21);




                                      6
vv)    Merson Law, PLLC Claimants’ Objection to the Adequacy of Debtors’ Disclosure
       Statement in Support of Second Amended Chapter 11 Plan of Reorganization and
       Joinder of the Objection of the Tort Claimants’ Committee (D.I. 3194, filed 5/6/21);

ww)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3198, filed 5/6/21);

xx)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3205, filed 5/6/21);

yy)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3207, filed 5/6/21);

zz)    Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3211, filed 5/6/21);

aaa)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3214, filed 5/6/21);

bbb)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3219, filed 5/6/21);

ccc)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3222, filed 5/6/21);

ddd)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3225, filed 5/6/21);

eee)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3226, filed 5/6/21);

fff)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3231, filed 5/6/21);

ggg)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3236, filed 5/6/21);


                                        7
hhh)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3243, filed 5/6/21);

iii)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3247, filed 5/6/21);

jjj)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3249, filed 5/6/21);

kkk)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3251, filed 5/6/21);

lll)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3252, field 5/6/21);

mmm) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
     Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
     Tort Claimants’ Committee (D.I. 3253, filed 5/6/21);

nnn)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3254, filed 5/6//21);

ooo)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3255, filed 5/6/21);

ppp)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3256, filed 5/6/21);

qqq)   Claimant Paul Baumann’s Objection to the Adequacy of Debtors’ Disclosure
       Statement in Support of Second Amended Chapter 11 Plan of Reorganization and
       Joinder of the Objection of the Tort Claimants’ Committee (D.I. 3257, filed 5/6/21);

rrr)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3258, filed 5/6/21);

sss)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3260, filed 5/6/21);


                                        8
ttt)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3261, filed 5/6/21);

uuu)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3262, filed 5/6/21);

vvv)   [REDACTED VERSION] Objection of the Church of Jesus Christ of Latter-Day
       Saints, a Utah Corporation Sole, to Debtors’ Motion for Entry of an Order (I)
       Approving the Disclosure Statement and the Form and Manner of Notice, (II)
       Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
       Ballots, (IV) Approving Form, Manner and Scope of Confirmation Notices, (V)
       Establishing Certain Deadlines in Connection with Approval of the Disclosure
       Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.I.
       3263, filed 5/6/21);

www) Ronald Hernandez Hunter’s Objection to the Adequacy of Debtors Disclosure
     Statement in Support of Second Amended Chapter 11 Plan of Reorganization and
     Joinder of the Objection of the Tort Claimants’ Committee (D.I. 3264, filed 5/6/21);

xxx)   PCVA Claimants’ Objection to the Adequacy of Debtors’ Disclosure Statement in
       Support of Amended Chapter 11 Plan of Reorganization (D.I. 3265, filed 5/6/21);

yyy)   [SEALED] Objection of the Church of Jesus Christ of Latter-Day Saints, a Utah
       Corporation Sole, to Debtors’ Motion for Entry of an Order (I) Approving the
       Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan
       Solicitation and Voting Procedures, (III) Approving Forms of Ballots, (IV)
       Approving Form, Manner and Scope of Confirmation Notices, (V) Establishing
       Certain Deadlines in Connection with Approval of the Disclosure Statement and
       Confirmation of the Plan, and (VI) Granting Related Relief (D.I. 3266, filed
       5/6/21);

zzz)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
       Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
       Tort Claimants’ Committee (D.I. 3267, filed 5/6/21);

aaaa) Objection to the Debtors’ Disclosure Statement for the Second Amended Chapter
      11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC and
      Joinder in the Objection of the Tort Claimants’ Committee (D.I. 3268, filed 5/6/21);

bbbb) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder (D.I. 3269, filed 5/6/21);

cccc) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of
      Amended Chapter 11 Plan of Reorganization (D.I. 3270, filed 5/6/21);



                                        9
  dddd) Great American’s Objection to Debtors’ Disclosure Statement for Second
        Amended Chapter 11 Plan of Reorganization and Joinder (D.I. 3271, filed 5/6/21);

  eeee) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
        Amended Chapter 11 Plan of Reorganization (D.I. 3272, filed 5/6/21);

  ffff)   Objection of the United Methodist Ad Hoc Committee to the Disclosure Statement
          for the Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of
          America and Delaware BSA, LLC (D.I. 3273, filed 5/6/21);

  gggg) Joinder by AWKO’s Claimants to the Objection to the Adequacy of the Debtors’
        Disclosure Statement by the Tort Claimants’ Committee (D.I. 3274, filed 5/6/21);

  hhhh) Objection of Gibbs Law Group LLP on Behalf of Claimants L.S. (Claim No. SA-
        71855), K.P. (Claim No. SA-66172), and E.K. (Claim No. SA-78274) to the
        Adequacy of Debtors’ Disclosure Statement in Support of Second Amended
        Chapter 11 Plan of Reorganization and Joinder of the Objection of the Tort
        Claimants’ Committee (D.I. 3275, filed 5/6/21);

  iiii)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
          Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
          Tort Claimants’ Committee (D.I. 3276, filed 5/6/21);

  jjjj)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
          Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
          Tort Claimants’ Committee (D.I. 3277, filed 5/6/21);

  kkkk) Joinder by Travelers Casualty and Surety Company, Inc. (FKA AETNA Casualty
        & Surety Company), St. Paul Surplus Line Insurance Company and Gulf Insurance
        Company to Great American’s Objection to Debtors’ Disclosure Statement for
        Second Amended Chapter 11 Plan of Reorganization and Joinder (D.I. 3278, filed
        5/6/21);

  llll)   Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
          Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
          Tort Claimants’ Committee (D.I. 3279, filed 5/6/21);

mmmm) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
      Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
      Tort Claimants’ Committee (D.I. 3281, filed 5/6/21);

  nnnn) Objection to the Adequacy of Debtors’ Disclosure Statement in Support of Second
        Amended Chapter 11 Plan of Reorganization and Joinder of the Objection of the
        Tort Claimants’ Committee and of Claimant 45448 (D.I. 3282, filed 5/6/21);

  oooo) Objection to Debtors’ Disclosure Statement: Eight Questions (D.I. 3284, filed
        5/6/21);


                                         10
 pppp) Argonaut Insurance Company’s Objection to Debtors’ Disclosure Statement for
       Second Amended Chapter 11 Plan or Reorganization and Joinder (D.I. 3285,
       5/6/21);

 qqqq) Amended Objection to the Adequacy of Debtors’ Disclosure Statement in Support
       of Second Amended Chapter 11 Plan of Reorganization and Joinder of the
       Objection of the Tort Claimants’ Committee (D.I. 3309, filed 5/7/21);

 rrrr)   Objection to the to the Adequacy of Debtors’ Disclosure Statement in Support of
         Second Amended Chapter 11 Plan of Reorganization and Joinder of the Objection
         of the Tort Claimants’ Committee (D.I. 3424, filed 5/10/21);

 ssss)   Zurich Insurers’ Objections to the Disclosure Statement for Debtors’ Second
         Amended Plan (D.I. 3478, filed 5/10/21);

 tttt)   The AIG Companies’ Objection to Motion for Approval of Debtors’ Disclosure
         Statement (D.I. 3523, filed 5/10/21);

 uuuu) Objection of the Tort Claimants’ Committee to Debtors’ Motion for Entry of an
       Order (I) Approving the Disclosure Statement and the Form and Manner of Notice,
       (II) Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
       Ballots, (IV) Approving Form, Manner and Scope of Confirmation Notices, (V)
       Establishing Certain Deadlines in Connection with Approval of the Disclosure
       Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.I.
       3526, filed 5/10/21);

 vvvv) The Allianz Insurers’ (I) Objection to the Debtors’ Disclosure Statement for Their
       Second Amended Chapter 11 Plan of Reorganization and (II) Limited Joinder ot
       Certain Objections (D.I. 3549, filed 5/10/21);

wwww) Joinder of Clarendon National Insurance Company, as Successor by Merger to
      Clarendon American Insurance Company, in Certain Insurers’ Objection to the
      Proposed Disclosure Statement for Debtors’ Second Amended Plan and Debtors’
      Proposed Confirmation Schedule (D.I. 3558, filed 5/10/21);

 xxxx) Objection of the Future Claimants’ Representative to (A) Disclosure Statement for
       the Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of America
       and Delaware BSA, LLC and (B) Debtors’ Motion for Entry of an Order (I)
       Approving the Disclosure Statement and the Form and Manner of Notice, (II)
       Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
       Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices, (V)
       Establishing Certain Deadlines in Connection with Approval of the Disclosure
       Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.I.
       3565, filed 5/10/21);




                                        11
yyyy) Objection of the Coalition of Abused Scouts for Justice to Debtors’ Motion for
      Entry of an Order (I) Approving the Disclosure Statement and the Form and Manner
      of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving
      Forms of Ballots, (IV) Approving Form, Manner and Scope of Confirmation
      Notices, (V) Establishing Certain Deadlines in Connection with Approval of the
      Disclosure Statement and Confirmation of the Plan, (VI) Granting Related Relief
      [D.I. 2295] (D.I. 3569, filed 5/10/21);

zzzz) Objection of Liberty Mutual Insurance Company to the Disclosure Statement for
      the Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of America
      and Delaware BSA, LLC (D.I. 3578, filed 5/10/21);

aaaaa) Girl Scouts of the United States of America’s Objection to Debtors’ Disclosure
       Statement for the Second Amended Chapter 11 Plan of Reorganization for Boy
       Scouts of America and Delaware BSA, LLC (D.I. 3579, filed 5/10/21);

bbbbb) United States Trustee’s Objection to Debtors’ Motion for Entry of an Order (I)
       Approving the Disclosure Statement and the Form and Manner of Notice, (II)
       Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
       Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices (V)
       Establishing Certain Deadlines in Connection with Approval of the Disclosure
       Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.E.
       2295) (D.I. 3581, filed 5/10/21);

ccccc) Joinder of Continental Insurance Company to Certain Insurers’ Objections to the
       Adequacy of the Disclosure Statement (D.I. 3582, filed 5/10/21);

ddddd) Objection of Certain Claimant as to the Adequacy of Debtors’ Disclosure Statement
       in Support of Amended Chapter 11 Plan of Reorganization (D.I. 2500, filed 4/1/21);

eeeee) Objection to the Adequacy of Debtors’ Disclosure statement in Support of
       Amended Chapter 11 Plan of Reorganization (D.I. 2580, filed 41321);

fffff)   Joinder of General Star Indemnity Company to the Allianz Insurers’ (I) Objection
         to the Debtors’ Disclosure Statement for Their Second Amended Chapter 11 Plan
         of Reorganization and (II) Limited Joinder to Certain Objections (D.I. 3740, filed
         5/12/21);

ggggg) Joinder to Objection of the Church of Jesus Christ of Latter-Day Saints, A Utah
       Corporation Sole, to Debtors’ Motion for Entry of an Order (I) Approving the
       Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan
       Solicitation and Voting Procedures, (III) Approving Forms of Ballots, (IV)
       Approving Form, Manner, and Scope of Confirmation Notices, (V) Establishing
       Certain Deadlines in Connection with Approval of the Disclosure Statement and
       Confirmation of the Plan, and (VI) Granting Related Relief (D.I. 3853, filed
       5/12/21);



                                         12
   hhhhh) Century Indemnity Company’s Objections to the Debtors’ Disclosure Statement for
          the Second Amended Chapter 11 Plan of Reorganization (D.I. 3856, filed 5/12/21);

   iiiii)   Century Indemnity Company’s Objections to the Debtors’ Solicitation Procedures
            and Form of Ballots (D.I. 3857, filed 5/12/21);

   jjjjj)   Notice of Filing of Exhibit A to Objection to the Adequacy of Debtors’ Disclosure
            Statement in Support of Second Amended Chapter 11 Plan of Reorganization and
            Joinder of the Objection of the Tort Claimants’ Committee (D.I. 3949, filed
            5/14/21);

 kkkkk)     Joinder of Arrowood Indemnity Company to Century Indemnity Company’s
            Objections to the Debtors’ Disclosure Statement for the Second Amended Chapter
            11 Plan of Reorganization (D.I. 4065, filed 5/14/21);

   lllll)   Joinder of the Roman Catholic Archbishop of Los Angeles, a Corporation Sole, and
            Its Related BSA-Chartered Organizations to the Disclosure Statement Objection of
            the Church of Jesus Christ of Latter-Day Saints, a Utah Corporation Sole ([D.I.
            3263] (D.I. 4092, filed 5/14/21);

mmmmm)      [SEALED] Objection to the Debtors’ Disclosure Statement for the Second
            Amended Chapter 11 Plan of Reorganization (D.I. 4152, filed 5/17/21);

  nnnnn) Objection to the Adequacy of Debtors’ Disclosure Statement in Debtors’
         Second Amended Chapter 11 Plan of Reorganization (D.I. 4154, filed 5/17/21);
         and

  ooooo) Joinder of the Official Committee of Unsecured Creditors for the Archbishop
         of Agana (Bankr. D. Guam 19-00010) to the Objection Tort Claimants’
         Committee (D.I. 4321, filed 5/17/21).

   Related Pleadings:

   a)       Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
            Delaware BSA, LLC (D.I. 2293, Filed 3/1/21);

   b)       Disclosure Statement for the Amended Chapter 11 Plan of Reorganization for Boy
            Scouts of America and Delaware BSA, LLC (D.I. 2294, Filed 3/1/21);

   c)       Notice of Status Conference (D.I. 2448, filed 3/24/21);

   d)       Amended Notice of Hearing to Consider Approval of Disclosure Statement and
            Solicitation Procedures for the Second Amended Chapter 11 Plan of
            Reorganization for Boys Scouts of America and Delaware BSA, LLC (D.I. 2591,
            filed 4/13/21);

   e)       Second Amended Chapter 11 Plan of Reorganization for Boy Scouts of America
            and Delaware BSA, LLC (D.I. 2592, filed 4/13/21);

                                            13
     f)     Amended Disclosure Statement for the Second Amended Chapter 11 Plan of
            Reorganization for Boy Scouts of America and Delaware BSA, LLC(D.I. 2594,
            filed 4/14/21);

     g)     Notice of Filing of Redlines of Plan and Disclosure Statement, Trust Distribution
            Procedures, and Settlement Trust Agreement (D.I. 2595, filed 4/14/21);

     h)     Notice of Revised Solicitation Procedures Order (D.I. 2726, filed 4/29/21);

     i)     Notice of Witness Information in Connection with Matters Going Forward for May
            19, 2021 Hearing (D.I. 4093, filed 5/14/21);

     j)     Statement of the Ad Hoc Committee of Local Councils in Support of Amended
            Disclosure Statement for the Second Amended Chapter 11 Plan of Reorganization
            for Boy Scouts of America and Delaware BSA, LLC (D.I. 4103, filed 5/16/21);

     k)     Debtors’ Omnibus Reply in Support of Debtors’ Motion for Entry of an Order (I)
            Approving the Disclosure Statement and the Form and Manner of Notice, (II)
            Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
            Ballots, (IV) Approving the Form, Manner, and Scope of Confirmation Notices,
            (V) Establishing Certain Deadlines in Connection with Approval of the Disclosure
            Statement and Confirmation of the Plan, and (VI) Granting Related Relief (D.I.
            4105, filed 5/16/21);

     l)     Proposed Amendments to Second Amended Chapter 11 Plan of Reorganization for
            Boy Scouts of America and Delaware BSA, LLC (D.I. 4107, filed 5/16/21);

     m)     Proposed Amendments to Disclosure Statement for the Second Amended Chapter
            11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC
            (D.I. 4108, filed 5/16/21);

     n)     Notice of Filing of Redlines of Proposed Amendments to Plan and Disclosure
            Statement (D.I. 4109, filed 5/16/21); and

     o)     Notice of Filing of Revised Proposed Solicitation Procedures Order (D.I. 4112,
            filed 5/16/21).

     Status: This matter is going forward. Century Indemnity Company will have Paul Hinton,
     David McKnight, and Robert Vanderbeek available to testify as witnesses.

4.   Motion of the Official Tort Claimants’ Committee and Future Claimants’ Representative
     for Entry of an Order Granting Standing and Authorizing the Prosecution of Certain
     Challenge Claims on Behalf of the Bankruptcy Estates (D.I. 2364, filed 3/12/21).

     Objection Deadline: March 26, 2021, at 4:00 p.m. (ET), extended to April 29, 2021, for
     the Debtors and JPMorgan Chase Bank, N.A.



                                            14
     Responses Received:

     a)     JPMorgan Chase Bank, National Association’s Objection to Joint Motion of the
            Official Tort Claimants’ Committee and Future Claimants’ Representative for
            Entry of an Order Granting Standing and Authorizing the Prosecution of Certain
            Challenge Claims on Behalf of the Bankruptcy Estates (D.I. 2732, filed 4/29/21);
            and

     b)     Debtors’ Objection to Joint Motion of the Official Tort Claimants’ Committee and
            Future Claimants’ Representative for Entry of an Order Granting Standing and
            Authorizing the Prosecution of Certain Challenge Claims on Behalf of the
            Bankruptcy Estates (D.I. 2733, filed 4/29/21).

     Related Pleadings:

     a)     Re-Notice of Joint Motion of the Official Tort Claimants’ Committee and Future
            Claimants’ Representative for Entry of an Order Granting Standing and
            Authorizing the Prosecution of Certain Challenge Claims on Behalf of the
            Bankruptcy Estates (D.I. 2445, filed 3/24/21);

     b)     Response and Limited Joinder of the Creditors’ Committee to the Debtors’
            Objection to Joint Motion of the Official Tort Claimants’ Committee and Future
            Claimants’ Representative for Entry of an Order Granting Standing and
            Authorizing the Prosecution of Certain Challenge Claims on Behalf of the
            Bankruptcy Estates (D.I. 2737, filed 4/29/21); and

     c)     Omnibus Reply in Support of Joint Motion of the Official Tort Claimants’
            Committee and Future Claimants’ Representative for Entry of an Order Granting
            Standing and Authorizing the Prosecution of Certain Challenge Claims on Behalf
            of the Bankruptcy Estates (D.I. 4079, filed 5/14/21).

     Status: This matter is going forward.

5.   Motion of the Future Claimants’ Representative, The Official Committee of Tort
     Claimants, and the Coalition of Abused Scouts for Justice for Entry of an Order, Pursuant
     to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation of Current and Future
     Abuse Claims and (II) Establishing Procedures and Schedule for Estimation Proceedings
     (D.I. 2391, filed 3/16/21)

     Objection Deadline: April 15, 2021, at 4:00 p.m. (ET).




                                             15
Responses Received:

a)     Objection of the Church of Jesus Chris of Latter-Day Saints, a Utah Corporation
       Sole, to Motion of the Future Claimants’ Representative, The Official Committee
       of Tort Claimants, and the Coalition of Abused Scouts for Justice for Entry of an
       Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation
       of Current and Future Abuse Claims and (II) Establishing Procedures and Schedule
       for Estimation Proceedings (D.I. 2610, filed 4/15/21);

b)     Debtors’ Objection to the Motion of the Future Claimants’ Representative, The
       Official Committee of Tort Claimants, and the Coalition of Abused Scouts for
       Justice for Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I)
       Authorizing an Estimation of Current and Future Abuse Claims and (II)
       Establishing Procedures and Schedule for Estimation Proceedings (D.I. 2612, filed
       4/15/21);

c)     Old Republic Insurance Company’s Objection to Motion of the FCR, TCC and
       Coalition to Estimate Current and Future Abuse Claims and Partial Joinder in
       Opposition of Certain Insurers to the Motion (D.I. 2613, filed 4/15/21);

d)     Century’s Opposition to the Coalition, TCC and FCR’s Motion to Estimate Current
       and Future Abuse Claims (D.I. 2614, filed 4/15/21);

e)     Joinder of the United Methodist Ad Hoc Committee to the Objection of the Church
       of Jesus Chris of Latter-Day Saints, a Utah Corporation Sole, to Motion of the
       Future Claimants’ Representative, The Official Committee of Tort Claimants, and
       the Coalition of Abused Scouts for Justice for Entry of an Order, Pursuant to 11
       U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation of Current and Future
       Abuse Claims and (II) Establishing Procedures and Schedule for Estimation
       Proceedings (D.I. 2681, filed 4/23/21); and

f)     Opposition of Certain Insurers to Motion of the Coalition, TCC and FCR to
       Estimate Current and Future Abuse Claims (D.I. 2611, filed 4/15/21).

Related Pleadings:

a)     Notice of Hearing on Motion of the Future Claimants’ Representative, The Official
       Committee of Tort Claimants, and the Coalition of Abused Scouts for Justice for
       Entry of an Order, Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an
       Estimation of Current and Future Abuse Claims and (II) Establishing Procedures
       and Schedule for Estimation Proceedings (D.I. 2475, filed 3/29/21); and




                                      16
     b)     Omnibus Reply of the Official Committee of Tort Claimants, the Coalition of
            Abused Scouts for Justice, and the Future Claimants’ Representative to Objections
            to Motion of the Future Claimants’ Representative, the Official Committee of Tort
            Claimants, and the Coalition of Abused Scouts for Justice for Entry of an Order,
            Pursuant to 11 U.S.C. §§ 105(a) and 502(c), (I) Authorizing an Estimation of
            Current and Future Abuse Claims and (II) Establishing Procedures and Schedule
            for Estimation Proceedings (D.I. 4089, filed 5/14/21).

     Status: This matter is going forward.

6.   Debtors’ Third Motion for Entry of an Order Extending the Debtors’ Exclusive Periods to
     File a Chapter 11 Plan and Solicit Acceptances Thereof (D.I. 2411, filed 3/18/21).

     Objection Deadline: April 1, 2021, at 4:00 p.m. (ET).

     Responses Received:

     a)     The Official Committee of Tort Claimants’ Objection to Debtors’ Third Motion for
            Entry of an Order Extending the Debtors’ Exclusive Periods to File a Chapter 11
            Plan and Solicit Acceptances Thereof (D.I. 2506, filed 4/1/21);

     b)     [SEALED] Objection of the Coalition of Abused Scouts for Justice and Future
            Claimants’ Representative to Debtors’ Third Motion for Entry of an Order
            Extending the Debtors’ Exclusive Period to File a Chapter 11 Plan and Solicit
            Acceptances Thereof (D.I. 2668, Filed 4/22/21); and

     c)     Notice of Filing of Final Redacted Version of Objection of the Coalition of Abused
            Scouts for Justice and Future Claimants’ Representative to Debtors’ Third Motion
            for Entry of an Order Extending the Debtors’ Exclusive Period to File a Chapter 11
            Plan and Solicit Acceptances Thereof (D.I. 2672, Filed 4/22/21).

     Related Pleadings:

     a)     Debtors’ Motion for Leave to File Debtors’ Reply in Support of Debtors’ Third
            Motion for Entry of an Order Extending the Debtors’ Exclusive Periods to File a
            Chapter 11 Plan and Solicit Acceptances Thereof (D.I. 2577, filed 4/12/2021);

     b)     Debtors’ Reply in Further Support of Debtors’ Third Motion for Entry of an Order
            Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit
            Acceptances Thereof (D.I. 4100, filed 5/16/21);

     c)     Declaration of Brian Whittman in Support of Debtors’ Third Motion for Entry of
            an Order Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and
            Solicit Acceptances Thereof (D.I. 4101, filed 5/16/21); and

     d)     Hartford’s Statement in Support of the Debtors’ Motion to Extend the Debtors’
            Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof (D.I.
            4115, filed 5/17/21).

                                             17
     Status: This matter is going forward. The Debtors intend to call Brian Whittman to testify
     as a witness in support of this matter. Unless otherwise directed by the Court, the
     Debtors intend to proceed with the Exclusivity Motion first at the request of
     numerous parties.

7.   Debtors’ Motion For Entry of Order (I) Scheduling Certain Dates and Deadlines in
     Connection with Confirmation of the Debtors Plan of Reorganization, (II) Establishing
     Certain Protocols, and (III) Granting Related Relief (D.I. 2618, filed 4/15/21).

     Objection Deadline: May 12, 2021, at 4:00 p.m. (ET).

     Responses Received:

     a)     Limited Objection of the AIG Companies to Debtors’ Motion for Entry of an Order
            (I) Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
            Debtors’ Plan of Reorganization, (II) Establishing Certain Procedures and, (III)
            Granting Related Relief (D.I. 3708, filed 5/12/21);

     b)     Zurich Insurers’ Objections to Debtors’ Proposed Confirmation Schedule (D.I.
            3747, filed 5/12/21);

     c)     The Allianz Insurers’ Joinder to the Limited Objection of the AIG Companies to
            Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates and Deadlines
            in Connection with Confirmation of the Debtors’ Plan of Reorganization, (II)
            Establishing Certain Procedures and, (III) Granting Related Relief (D.I. 3771, filed
            5/12/21);

     d)     Joinder of Clarendon National Insurance Company, as Successor by Merger to
            Clarendon America Insurance Company, In the Limited Objection of the AIG
            Companies to Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates
            and Deadlines in Connection with Confirmation of the Debtors Plan of
            Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
            Relief (D.I. 3739, filed 5/12/21);

     e)     Response of Liberty Mutual Insurance Company to the Debtors’ Motion for Entry
            of an Order (I) Scheduling Certain Dates and Deadlines in Connection with
            Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
            Protocols, and (III) Granting Related Relief and Limited Joinder (D.I. 3794, filed
            5/12/21);

     f)     Great American’s Objection and Joinder in Objections to Debtors’ Motion for Entry
            of Order (I) Scheduling Certain Dates and Deadlines in Connection with
            Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
            Protocols, and (III) Granting Related Relief (D.I. 3799, filed 5/12/21);




                                             18
     g)     Joinder by Travelers Casualty and Surety Company, Inc. (FKA Aetna Casualty &
            Surety Company), St. Paul Surplus Line Insurance Company to Limited Objection
            of the AIG Companies to Debtors’ Motion for Entry of an Order (I) Scheduling
            Certain Dates and Deadlines in Connection with Confirmation of the Debtors Plan
            of Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
            Relief (D.I. 3806, filed 5/12/21);

     h)     Objection of the Official Committee of Tort Claimants, the Coalition of Abused
            Scouts for Justice, and the Future Claimants’ Representative to the Debtors’ Motion
            for Entry of Order (I) Scheduling Certain Dates and Deadlines in Connection with
            Confirmation of the Debtors’ Plan of Reorganization, (II) Establishing Certain
            Protocols, and (III) Granting Related Relief (D.I. 3816, filed 5/12/21);

     i)     Joinder of Continental Insurance Company to Certain Insurers’ Objections to
            Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates and Deadlines
            in Connection with Confirmation of the Debtors’ Plan of Reorganization, (II)
            Establishing Certain Protocols, and (III) Granting Related Relief (D.I. 3855, filed
            5/12/21);

     j)     Certain Insurers’ Opposition to Debtors’ Motion for Entry of an Order (I)
            Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
            Debtors’ Plan of Reorganization, (II) Establishing Certain Protocols, and (III)
            Granting Related Relief (D.I. 3859, filed 5/12/21); and

     k)     Joinder of General Star Indemnity Company to Limited Objection of the AIG
            Companies to Debtors’ Motion for Entry of an Order (I) Scheduling Certain Dates
            and Deadlines in Connection with Confirmation of the Debtors’ Plan of
            Reorganization, (II) Establishing Certain Procedures and, (III) Granting Related
            Relief (D.I. 3928, 5/13/21).

     Related Pleadings:

     a)     Amended Notice of Hearing of the Debtors’ Motion For Entry of Order (I)
            Scheduling Certain Dates and Deadlines in Connection with Confirmation of the
            Debtors Plan of Reorganization, (II) Establishing Certain Protocols, and (III)
            Granting Related Relief (D.I. 2655, filed 4/21/21); and

     b)     Debtors’ Omnibus Reply to Objection to Motion For Entry of Order (I) Scheduling
            Certain Dates and Deadlines in Connection with Confirmation of the Debtors Plan
            of Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
            Relief (D.I. 4104, filed 5/16/21).

     Status: This matter is going forward.

8.   Century’s Motion to Amend the Court’s Order (I) Approving Procedures for (A) Interim
     Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense
     Reimbursement for Official Committee Members and (II) Granting Related Relief (Dkt.
     No. 341) (D.I. 3161, filed 5/5/21).

                                             19
     Objection Deadline: May 12, 2021, at 4:00 p.m. (ET), extended to May 14, 2021, for
     the Debtors.

     Responses Received:

     a)     Response of the Tort Claimants’ Committee to Century’s Motion to Amend the
            Court’s Order (I) Approving Procedures for (A) Interim Compensation and
            Reimbursement of Expenses of Retained Professionals and (B) Expense
            Reimbursement for Official Committee Members and (II) Granting Related Relief
            (D.I. 3775, filed 5/12/21); and

     b)     Debtors’ Response to Century’s Motion to Amend the Court’s Order (I) Approving
            Procedures for (A) Interim Compensation and Reimbursement of Expenses of
            Retained Professionals and (B) Expense Reimbursement for Official Committee
            Members and (II) Granting Related Relief (Dkt. No. 341) (D.I. 4094, filed 5/14/21).

     Related Pleadings:

     a)     Declaration of Stamatios Stamoulis (D.I. 3286, filed 5/6/21); and

     b)     Century’s Submission of Proposed Order in Further Support of its Motion to
            Amend the Court’s Order (I) Approving Procedures for (A) Interim
            Compensation and Reimbursement of Expenses of Retained Professionals and (B)
            Expense Reimbursement for Official Committee Members and (II) Granting
            Related Relief (Dkt. No. 341) (D.I. 4113, filed 5/17/21).

     Status: This matter is going forward.

9.   Motion of The Church of Jesus Christ of Latter-Day Saints, a Utah Corporation Sole, to
     Seal the Objection of The Church of Jesus Christ of Latter-Day Saints, a Utah Corporation
     Sole, to Debtors' Motion for Entry of an Order (I) Approving the Disclosure Statement and
     the Form and Manner of Notice (II) Approving Plan Solicitation and Voting Procedures,
     (III) Approving Form of Ballots, (IV) Approving Form, Manner and Scope of
     Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval of
     the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief
     (D.I. 3283, filed 5/6/21).

     Objection Deadline: At the May 19, 2021, hearing.

     Responses Received: None.

     Related Pleadings:    None.

     Status: This matter is going forward.




                                             20
10.   Motion for Leave to Exceed Page Limit Requirement for Objection of the Tort Claimants’
      Committee to Debtors’ Motion for Entry of an Order (I) Approving the Disclosure
      Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting
      Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner and Scope
      of Confirmation Notices, (V) Establishing Certain Deadlines in Connection With Approval
      of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief
      (D.I. 3529, filed 5/10/21).

      Objection Deadline: At the May 19, 2021, hearing.

      Responses Received: None.

      Related Pleadings:    None.

      Status: This matter is going forward.

11.   Motion for Leave to Exceed Page Limit Requirement for (i) Objection of Century
      Indemnity Company to Debtors’ Motion for Entry of an Order (I) Approving the Disclosure
      Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting
      Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner and Scope
      of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval
      of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief
      and (ii) Century Indemnity Company’s Objections to the Debtors’ Solicitation Procedures
      and Form of Ballots (D.I. 3858, filed 5/12/21).

      Objection Deadline: At the May 19, 2021, hearing.

      Responses Received: None.

      Related Pleadings:    None.

      Status: This matter is going forward.

12.   Motion for Leave to Exceed Page Limitations Regarding Debtors’ Reply in Further
      Support of Debtors’ Third Motion for Entry of an Order Extending the Debtors’ Exclusive
      Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof (D.I. 4102, filed
      5/16/21).

      Objection Deadline: At the May 19, 2021, hearing.

      Responses Received: None.

      Related Pleadings:    None.

      Status: This matter is going forward.




                                              21
13.   Motion for Leave to Exceed Page Limitations Regarding Debtors’ Omnibus Reply in
      Support of Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement
      and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting
      Procedures, (III) Approving Forms of Ballots, (IV) Approving the Form, Manner, and
      Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with
      Approval of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting
      Related Relief (D.I. 4111, filed 5/16/21).

      Objection Deadline: At the May 19, 2021, hearing.

      Responses Received:

      a)     Century’s Response to Debtor’s Motion for Leave [DKT. NO. 4111] (D.I. 4114,
             filed 5/17/21).

      Related Pleadings:    None.

      Status: This matter is going forward.

ADDITIONAL ADJOURNED MATTERS:

14.   Hartford Accident and Indemnity Company, First State Insurance Company and
      Twin City Fire Insurance Company’s Motion to Compel Abused in Scouting and
      Kosnoff Law PLLC to Submit Rule 2019 Disclosures (D.I. 2028, Filed 2/3/21).

      Objection Deadline: February 10, 2021, at 4:00 p.m. (ET).

      Responses Received:

      a)     Kosnoff Law’s Omnibus Objection to Hartford’s and Century’s Motions to
             Compel (D.I. 2142, Filed 2/10/21); and

      b)     Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C.’s Omnibus Response
             to (I) Hartford Accident and Indemnity Company, First State Insurance
             Company and Twin City Fir Insurance Company’s Motion to Compel Abused
             in Scouting Andkosnoff Law PLLC to Submit Rule 2019 Disclosures and (II)
             Century’s Motion to Compel Abused in Scouting, Kosnoff Law PLLC, and the
             Coalition to Submit the Disclosures Required by Federal Rule of Bankruptcy
             Procedure 2019
             (D.I. 2143, Filed 2/10/21).

      Related Pleadings:

      a)     Reply in Support of Hartford Accident and Indemnity Company, First State
             Insurance Company and Twin City Fire Insurance Company’s Motion to
             Compel Abused in Scouting and Kosnoff Law PLLC to Submit Rule 2019
             Disclosures (D.I. 2170, Filed 2/11/21); and

                                              22
      b)    Joinder by Travelers Casualty and Surety Company, Inc. (FKA Aetna
            Casualty & Surety Company), St. Paul Surplus Line Insurance Company and
            Gulf Insurance Company to Hartford’s Motion to Compel Abused in Scouting
            and Kosnoff Law PLLC to Submit Rule 2019 Disclosures (D.I. 2181, Filed
            2/11/21).

      Status: At the direction of the Court, this matter is adjourned to a date to be
      determined.

15.   Century’s Motion to Compel Ichor Consulting, LLC to Submit the Disclosures
      Required by Federal Rule of Bankruptcy Procedure 2019 (D.I. 2029, Filed 2/3/21).

      Objection Deadline: February 10, 2021, at 4:00 p.m. (ET).

      Responses Received: None.

      Related Pleadings:

      a)    Joinder by Agricultural Insurance Company to Century’s Motion to Compel
            Ichor Consulting, LLC to Submit the Disclosures Required by Federal Rule of
            Bankruptcy Procedure 2019 (D.I. 2132, Filed 2/10/21);

      b)    Joinder, Response and Objection to Century’s Motion to Compel Ichor
            Consulting, LLC to Submit the Disclosures Required by Federal Rule of
            Bankruptcy Procedure 2019 (D.I. 2144, Filed 2/10/21);

      c)    Joinder by Travelers Casualty and Surety Company, Inc. (FKA Aetna
            Casualty & Surety Company), St. Paul Surplus Line Insurance Company and
            Gulf Insurance Company to Century’s Motion to Compel Ichor Consulting,
            LLC to Submit the Disclosures Required by Federal Rule of Bankuptcy
            Procedure 2019 (D.I. 2182, Filed 2/11/21);

      d)    Century’s Reply in Support of Its Motion to Compel Ichor Consulting, LLC
            to Submit the Disclosures Required by Federal Rule of Bankruptcy Procedure
            2019 (D.I. 2198, Filed 2/15/21); and

      e)    Corrected Response to Century’s Motion to Compel Ichor Consulting, LLC to
            Submit the Disclosures Required by Federal Rule of Bankruptcy Procedure
            2019 (D.I. 2208, Filed 2/12/21).

      Status: At the direction of the Court, this matter is adjourned to a date to be
      determined.




                                          23
16.   Century’s Motion to Compel Abused In Scouting, Kosnoff Law PLLC, and the
      Coalition to Submit the Disclosures Required by Federal Rule of Bankruptcy
      Procedure 2019 (D.I. 2030, Filed 2/3/21).

      Objection Deadline: February 10, 2021, at 4:00 p.m. (ET).

      Responses Received:

      a)     Limited Objection of the Coalition of Abused Scouts for Justice to Century’s
             Motion to Compel [D.I. 2030] (D.I. 2135, Filed 2/10/21);

      b)     Kosnoff Law’s Omnibus Objection to Hartford’s and Century’s Motions to
             Compel (D.I. 2142, Filed 2/10/21); and

      c)     Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C.’s Omnibus Response
             to (I) Hartford Accident and Indemnity Company, First State Insurance
             Company and Twin City Fir Insurance Company’s Motion to Compel Abused
             in Scouting Andkosnoff Law PLLC to Submit Rule 2019 Disclosures and (II)
             Century’s Motion to Compel Abused in Scouting, Kosnoff Law PLLC, and the
             Coalition to Submit the Disclosures Required by Federal Rule of Bankruptcy
             Procedure 2019 (D.I. 2143, Filed 2/10/21).

      Related Pleadings:

      a)     Joinder by Travelers Casualty and Surety Company, Inc. (FKA Aetna
             Casualty & Surety Company), St. Paul Surplus Line Insurance Company and
             Gulf Insurance Company to Century’s Motion to Compel Abused in Scouting
             and Kosnoff Law PLLC and the Coalition to Submit the Disclosures Required
             by Federal Rule of Bankruptcy Procedure 2019 (D.I. 2183, Filed 2/11/21).

      Status: At the direction of the Court, this matter is adjourned to a date to be
      determined.

ADVERSARY PROCEEDING – PRETRIAL CONFERENCE

Official Tort Claimants’ Committee of Boy Scouts of America and Delaware BSA, LLC, v. Boy
Scouts of America and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS)

      Related Pleadings:

      a)     Complaint for Declaratory Judgment (A.D.I. 1, filed 1/8/21);

      b)     The Debtors’ Answer to the Tort Claimants’ Committee’s Complaint for
             Declaratory Judgment (A.D.I. 16, filed 4/23/21);

      c)     Notice of Rescheduled Pretrial Conference (A.D.I. 9, filed 4/2/21);


                                             24
      d)     Certification of Counsel Regarding Proposed Scheduling Order (A.D.I. 21, filed
             5/14/21); and

      e)     Certification of Counsel Regarding Debtors’ Proposed Scheduling Order (D.I.
             24, filed 5/17/21).

      Status: This matter is going forward as a pretrial conference.

FEE APPLICATIONS

17.   Fourth Interim Fee Application Period Hearing.

      Status: This matter has been adjourned to June 17, 2021, at 10:00 a.m. (ET).




                                              25
Dated: May 17, 2021           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                              /s/ Eric W. Moats
                              Derek C. Abbott (No. 3376)
                              Andrew R. Remming (No. 5120)
                              Eric W. Moats (No. 6441)
                              Paige N. Topper (No. 6470)
                              1201 North Market Street, 16th Floor
                              P.O. Box 1347
                              Wilmington, Delaware 19899-1347
                              Telephone: (302) 658-9200
                              Email: dabbott@morrisnichols.com
                                      aremming@morrisnichols.com
                                      emoats@morrisnichols.com
                                      ptopper@morrisnichols.com

                              – and –

                              WHITE & CASE LLP
                              Jessica C. Lauria (admitted pro hac vice)
                              1221 Avenue of the Americas
                              New York, New York 10020
                              Telephone: (212) 819-8200
                              Email: jessica.lauria@whitecase.com

                              – and –

                              WHITE & CASE LLP
                              Michael C. Andolina (admitted pro hac vice)
                              Matthew E. Linder (admitted pro hac vice)
                              Laura E. Baccash (admitted pro hac vice)
                              Blair M. Warner (admitted pro hac vice)
                              111 South Wacker Drive
                              Chicago, Illinois 60606
                              Telephone: (312) 881-5400
                              Email: mandolina@whitecase.com
                                     mlinder@whitecase.com
                                     laura.baccash@whitecase.com
                                     blair.warner@whitecase.com

                              ATTORNEYS FOR THE DEBTORS AND
                              DEBTORS IN POSSESSION




                                        26
